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Trade and Consumer Protection Act, La. B.S. 51.1401, et seq. The State of Louisiana is entitled to
redress pursuant to La. RLS. 31:136-139 and La. R.S. 51:1404B, La. R.S. 51:1407-1409.
135, Pursuantio La. B.S. 137 and 138, and La. B.S. 51:1404B, 1408-1409 and 1414, and

acting under the Atomey General's specific authority to bring all Louisians Monopolies Act actions

and any wniair trade action, the State of Louisiana brings this action
damages suffered by Louisiana consumers and/or state agencies as a result to Defendants’ illegal,
anilcompetitive conduct.

136. The State of Louisiana also seeks statutory penalties, costs, disbursements. and

attorneys fees from Defendants, as well as all available injunctive relief pursuant to La. R.5. 122-

represents Consumers’ claims pursuant to the Attorney General's parens pairiae authority and
authority under Rule 23 of the Federal Rules of Civil Procedure.
137. Plaintiff State of Maine repeats and realleges each and every allegation contained in

paragraphs | through 93 with the same force and effect as if here set forth in full,

Statutes Annotated, 10 M.R.S_A, § L101 ef seg., and Maine's Unfair Trade Practices Act, 5 M.B.S.A,
§ 205-A ef seq. The State of Maine represents consumers’ claims pursuant to the Attorney General's
parens patriae authority.

139. Plaintiff State of Maryland repeats and realleges each and every allegation contained

140. The aforementioned practices by Defendants were, and are in violation of the
Maryland Antitrust Act, Md. Com. Law Code Ann. § 11-201 ef seg.

141, Plaintiff State of Maryland brings this action for three times the amount of damages

sustained by the State and for civil penalties and all available equitable relief on behalf of the State

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together with reimbursement of reasonable attorneys’ fees, experts’ fees and costs frorn Defendants

pursuant to Md. Com. Law Code Ann. § 11-209. The State of Maryland represents consumers’
claims pursuant to the Attorney General's equitable authority under Md. Com. Law Code Ann. § I1-
209.

allegation contained in paragraphs | through 95 with the same force and effect as if here set forth

in fall.

143. The aforementioned practices by Defendants were in violation of Massachusetts

Consumer Protection Act, Mass. Gen. L. c. 939A §§ 1 er seg.,; Massachusetts Antitrust Act, Mass.

pursuant to the Attomey General's parens patriae authority and authority under Rule 23 of the
Federal Rules of Civil Procedure.
144, Plaintiff State of Michigan repeats and realleges each and every allegation contained

in paragraphs | through 95 with the same force and effect as if here set forth in full.

Michigan Antitrust Reform Act MCL 445.771 ef seg. and the Michigan Consumer Protection Act
MCL 445.901 ef seg. The State of Michigan is entitled to redress pursuant to MCL 443,777, MCL
445.778 and MCL 445.901 ef seg. The State of Michigan represents consumers’ claims pursuant to
the Attomey General’s parens patriae authority and authority under Rule 23 of the Federal Rules

POY iP 3

146. Plai nui? State of Minnesota repeats and realleges each and every allegation contained
in paragraphs | through 95 with the same force and effect as if here forth in full,
147, The aforementioned practices by Defendants were in violation of the Minnesota

antitrust law of 1971, Minn. Stat. §§ 325D.49-325D.66 (1998).

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148. The State of Minnesota is entitled to relief pursuant to Minn. Stat. § 8.31; Minn. Stat.

§§ 325D.49-3251.66; and, its authority to bring actions as parens parriae on behalf of Minnesota
consumers. The State of Minnesota represents consumers’ claims pursuant to the Afttomey General's

parens patrine authority and authority under Rule 23 of the Federal Rules of Civil Procedures.

contained in paragraphs | through 95 with the same force and effect as if here set forth in full. ~
150. The aforementioned practices by Defendants were in violation of Mississippi Code
Annotated § 75-21-1 ev seg. and Mississippi Code Annotated 75.24-1 ef seg. The State of

Mississippi represents consumers’ claims pursuant to the Attomey General’s parens patriae authority

131. Plaintiff State of Missouri repeats and realleges each and every allegation contained
in paragraphs | through 95 with the same force and effect as if here set forth in full.

152. The aforementioned practices by Defendants were in violation of the Missouri

Antitrust Law, §§416.031.1, 416.03 1.2, and 416.031.3, Revised Statutes of Missouri 1994, and in

violation of the Merchandising Practices Act, §407.020, Revised Statutes of Missouri 1994. The

State of Missouri represents consumers’ claims pursuant to the Attorney General’s parens parriae

authority.
153. Plaintiff State of Montana repeats and realleges each and every allegation contained
in paragraphs 1 through 95 with the same force and effect as if here set forth in full.

134. The aforementioned practices by Defendants were in violation of Montana Code Ann,

§ 30-14-205. The State of Montana represents consumers’ claims pursuant to the Attomey General's
parens patrige authority and authority under Rule 23 of the Federal Rules of Civil Procedure.
133. Plaintiff State of Nebraska repeats and realleges each and every allegation contained

in paragraphs | through 9$ with the same force and effect as if here set forth in full,

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156. The aforementioned practices by Defendants: were in violation of Neb. Rev. Stat.

Consumer §§ 59-801 ~ 59-831 and §§ 59-1601 - 39-1623 (1998). The State of Nebraska represents

consumers’ claims pursuant to the Atorney General's authority under Rule 23 of the Federal Rules

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of Civil Procedure.

paragraphs | through 95 with the same force and effect as if here set forth in full.

158. The aforementioned practices by Defendants were in violation of the Nevada Unfair
Trade Practice Act, NRS Chapter 598A. The State of Nevada represents consumers’ claims pursuant
to the Attorney General’s parens patriae authority and authority under Rule 23 of the Federal Rules
159. Plaintiff State of New Hampshire repeats and realleges each and every allegation

contained in paragraphs | through 95 with the same force and effect as if here set forth in full.
160. The aforementioned practices by Defendants were in violation of New Hampshire

RSA 346. The State of New Hampshire represents consumers’ claims pursuant to the Attomey

16k. Plaintiff State of New Jersey repeats and realleges each and every allegation contained
in paragraphs | through 93 with the same force and effect as if here set forth in full.
162. The aforementioned practices by Defendants were in violation of New Jersey Stat.

Amn., tide 36, ch. 9, § 56:9-1 er sey. The State of New Jersey represents consumers’ claims pursuant

163. Plaintiff State of New Mexico repeats and realleges each and every allegation
contained in paragraphs | through 95 with the same force and effect as if here set forth in full.
164, Part of the trade or commerce affected by the aforementioned practices was within

New Mexice,

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165. The aforementioned practices of Defendants were in violation of the New Mexico

Antitrust Act, NUM, Stal. Ann. § 37-1-1, ef seg. NMSA (1978) and the New Mexico Unfair Practices
Act, N.M. Stat. Ann. § 57-12-1 to § $7-12-22 (1978). The State of New Mexico represents

consumers’ clairns pursuant to the State’s porens petriae and the Attorney General's public interest

authority,

166. Plaintiff State of New York repeats and realleges each and every allegation contained
in paragraphs | through 95 with the same force and effect as if here set forth in full.

167. Defendants’ practices violate New York General Business Law §§ 340-347, and also

constitute fraudulent or illegal acts under New York Exec. Law § 63(12). The State of New York

168, Plaintiff State of North Carolina repeats and realleges cach and «very allegation
contained in paragraphs | through 95 with the same force and effect as if here set forth in full.
169. The aforementioned practices by Defendants were in violation of N.C. Gen.

Stat. §§ 75-1, -1.1, -2 and -2.1, and were in knowing violation of law. The State of North Carolina

authority under Rule 23 of the Federal Rules of Civil Procedure.

170. Plaintiff State of North Dakota repeats and realleges each and every allegation
contained in paragraphs 1 through 95 with the same force and effect as if here set forth in full.

7}. The aforementioned practices by Defendants were in violation of North Dekota’s

Uniform State Antitrust Act

represents consumers’ claims pursuant to the Atiomey General's porens pairiae authority and
authority under Rule 23 of the Federal Rules of Civil Procedure.
172. Plaintiff State of Ohio repeats and realleges each and every allegation contained in

paragraphs | through 95 with the sarne force and effect as if here set forth in full.

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173. The aforementioned practices by Defendants were in violation of Ohio's antitrust law,

the Chico Valentine Act, Ohio Rev. Code §§ 1331.01 et seg, Ohio Rev, Code § 109.81, and the
common law of Ohio.

174. Pursuant to Ohio Rev. Code §§ 109.81, 1331.05, 1331.08 and 1331.11, the State of

Ohio brings this action for two times the amount of damages sustained by the State and its natural
person citizens, together with costs and attorney fees, civil penalties, and all other available equitable
relief, including injunctive relief and restitution and disgorgement. The State of Ohio represents
consumers’ claims pursuant to the Attomey General’s parens patriae authority and authority under

Rule 23 of the Federal Rules of Civil Procedure.

173. WPlamull state of Oklahoma repeats and realieges eacn and every ali¢gafion contained
in paragraphs | through 95 with the same force and effect as if here set forth in fall.

i76. The sforementioned practices by Defendants were in violation of 79 Okla. Stat. § 201-
212 (Oklahoma Antitrust Reform Act} and 15 Okla. Stat. § 751 ef seg. (Okdahoma Consumer

Protection Act). The State of Oklahoma represents consumers’ claims pursuant to the Attorney

if Procedure.

177. = Plaintiff State of Oregon repeats and realleges each and every allegation contained in
paragraphs | through 93 with the same force and effect as if here set forth in full.

178. The aforementioned practices by the Defendants were in violation of ORS 646,725
and ORS 646.730 of the Oregon Antitrust Act, ORS 646.705, ed seg.

relief, including injunctive relief, restitution and disgorgement, together with reimbursement of
reasonable attomeys fees, experts’ fees, and costs from Defendants, pursuant to ORS 646.760,

646.770, 646.775, and the authority under Oregon common law. The State of Oregon represents

consumers’ claims pursuant to the Attorney General's parens patriae authority and authority under

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480. The Commonwealth of Pennsylvania repeats and realleges each and every allegation

contained in paragraphs 1 through 95 with the same force and effect as if here set forth in full,

181. The aforementioned practices by Defendants were and are in violation of Pennsylvania

common law doctrines against the unlawful restraint of trade, unjust enrichment and civil conspiracy

claims pursuant to the Attomney General's parens patriae authority.
182. Plaintiff State of Rhode Island repeats and realleges cach and every allegation

contained in paragraphs | through 95 with the same force and effect as if here set forth in full.

133. The aforementioned practices by the Defendants were in violation of Rhode Island

pursuant to the Attorney General's parens patriae authority and authority under Rule 23 of the
Federal Rules of Civil Procedure.
184, Plaintiff State of South Carolina repeats and realleges each and every allegation

contained in paragraphs | through 95 with the same force and effect as if here set forth in full.

of Laws §§ 39-5-16, er seg. The State of South Carolina is entitled to redress pursuant io §§ 39-5-56
and 39-3-110 of the South Carolina General Statutes. The State of South Carolina represents
consumers’ claims pursuant to the Attorney General’s authority under Rule 23 of the Federal Rules
of Civil Procedares.

186.  PlainthY State

contained in paragraphs | through 95 with the same force and effect as if here set forth in full.
187. The aforementioned practices of Defendants were in violation of South Dakota
antitrust law SDCL ch. 37-1. The State of South Dakota and persons it represents are entitled to

redress pursuant to SDCL, 37-1-14.2, 14.3, 23 through 33 and the common law of South Dakota. The

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State of South Dakota represents consumers’ claims pursuant to the Attorney General's parens

patriae authority and authority under Rule 23 of the Federal Rules of Civil Procedure.
188. Plaintiff State of Tennessee repeats and realleges each and every allegation contained

in paragraphs 1 through 95 with the same force and effect as if here set forth in full.

§ 47-25-1061 ef seg, The State of Tennessee is entitled to damages pursuant to Tenn. Code Ann, § 47-
25-106.
190. The State of Tennessee also brings this action pursuant to Tenn. Code Ann. § 8-6-109

to recover damages pursuant to Tenn. Code Ann. § 47-25-106 suffered by Tennessee governmental

seeks penalties, costa, disbursements and attorney fees from Defendants, together with any and all
injunctive relief to which the State of Tennessee may be entitled,
191, The aforementioned practices by Defendants were in violation Tenn. Code Ann. § 47-

18-101 ef seq. (the Tennessee Consumer Protection Act of 1977). The State of Tennessee is entitled

together with a civil penalty of $1,000.00 for each violation of the Act.
192. Acting under the authority of the Attorney General and Reporter pursuant to Tenn.
Code Aan. § 47-18-108, the State of Tennessee brings this action under Tenn. Code Ann. § 47-18-10]

ef seg. (the Tennessee Consumer Protection Act) to recover three (3) times the damages pursuant to

and deceptive actions together with a civil penalty of $1,000.00 for each violation of the Act.

193. The State of Tennessee also brings this action pursuant to Tenn. Code Ann, §§ 83-109

and 47-18-10 ef seg. (the Tennessee Consumer Protection Act} to recover three (3) times the

damages pursuant to Tenn. Code Ann. § 47-18-106 e seq. suffered by Tennessee governmental

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$1,000.00 for each violation of the Act. The State of Tennessee also seeks penalties, costs,

disbursernents and attorney fees from Defendants, together with any and all injunctive relief to which
the State of Tennessee may be entitled. The State of Tennessee represents consumers’ claims

pursuant to the Attorney General’s parens patriae authority.

paragraphs | through 95 with the same force and effect as if here set forth in full.
195. The aforementioned practices of Defendants were in violation of Texas Business and

Commerce Cade, §15.05 (2), (5) and (c). The State of Texas is entitled i redress pursuant to $15.20,

14.21 and 15.40 of the Texas Business and Commerce Code. The State of Texas represents

Rule 23 of the Federal Rules of Civil Procedure,
196. Plaintiff State of Utah repeais and realleges each and every allegation contained in
paragraphs } through 95 with the same force and effect as if here set forth in fall.

197. The aforementioned practices of Defendants were in violation of the Utah Antitrust

Act, Utah Code Ann. $8 7610-911 ef seg

198. The State of Utah seeks injunetive relief, restitution, disgorgement, a civil penalty of
$300,000 per violation, costs of suit, and reasonable attorneys fees as provided by the Utah Antitrust
Ast, Utah Code Ann. §§ 76-10-9178 and 76-10-9195 (3), The State of Utah represents: consumers’
claims pursuant to the Attorney General's parens pairiae authority and authority under Rule 23 of the

Federal Rules of the Civil Procedure.

199. Plaintiff State of Vermont repeats each and every allegation contained in paragraphs
1 through 95 with the same force and effect as if here set forth in full.
200. The aforementioned practices by Defendants were in violation of the Vermont

Consumer Fraud Act, 9 V.S.A. § 2453.

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201. Pursuantio 9V.5.A. §§ 2458, 2461 and 2465 and acting under the Vermont Attorney

General's authority to pursue actions as parents patrine, the State of Vermont brings this action to
recover three times the damages suffered by Vermont consumers as a result of Defendants’ illegal,

anticompetitive conduct.

to recover three times the danfages sustained by the State, together with costs and attorneys fees, civil

penalties, and all other available equitable relief, including injunctive relief, restitution and
disgorgement. The State of Vermont represents consumers’ claims pursuant to the Attorney General’s

parens patriae authority.

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paragraphs 1 through 9§ with the same force and effect as if here set forth in full,
204, The aforementioned practices by Defendants were in violation of Virginia Antitrust

Act, Va. Code §§ 39,1-9.1 ef seg. The Commonwealth of Virginia represents consumers’ claims

pursuant to the Atiomey General's parens patriag authority and authority under Rule 23 of the

205. Plainnif State of Washington repeats and realleges each and every allegation contained
in paragraphs ] through 95 with the same force and effect as if here set forth in Pull.

206. The aforementioned practices by Defendants were and are in violation of Wash. Rev.
Code 19.86.010 ef seg. The State of Washington represents consumers’ claims pursuant to the

Atiomey General's parens porriae authority and authority under RCW 19.86.080.

207, Plaintiff State of West Virginia repeats and realleges each and every allegation
contained in paragraphs | through 95 with the same force and effect as if here set forth in fall.
208. The aforementioned practices by Defendants were in violation of the West Virginia

Antitrust Act, W, Va. Code § 47-18-1 ed sey., and in violation of the West Virginia Consumer Credit

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and Protection Act, W. Va. Code § 46A-1-101 ef seg. The State of West Virginia represents

consumers’ claims pursuant to the Attlomey General's parens pairiae authority.
209. Plaintiff State of Wisconsin repeats and realleges each and every allegation contained

in paragraphs | through 95 with the same force and effect as if here set forth in full.

210. ‘The aforementioned practices by Defendants were in violation ol the Wisconsin Lasts
and Monopolies Act, Wis. Stats. § 133.03. The State of Wisconsin represents consumers’ claims
pursuant to the Attomey General's parens pairiae authority and authority under Rule 23 of the
Federal Rules of Civil Procedure.

211. Plaintiif State of Wyoming repeats and realleges each and every allegation contained

in paragraphs T through 95 with the same force and effect as if here set forth in full.
212. The aforementioned practices by Defendants were in violation of Wyoming Statutes
§§40-4-101 and 40-12-1058. The State of Wyoming seeks immediate forfeiture of Defendants’

permits to do business in the State pursuant to Wyoming Statute §40-4-102, an injunction barring

Defendants from engaging in unlawful deceptive trade practices defined by Wyoming Statute §40-12-

unlawful deceptive wade practices in violation of the Wyoming Consumer Protection Act, civil
penalties of 310,000. per violation of the Wyoming Consumer Protection Act and reasonable
attomeys’ fees and costs incurred in the prosecution of this action. The State of Wyoming represents

state agencies’ claims pursuant to Wyoming Statute §9-1-603 and represents consumers’ claims

of the Federal Rules of Civil Procedure.

SORT,
JURY TRIAL DEMAND
213. The States demand trial by jury, pursuant to Rule 38(b) of the Federal Rules of Civil

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KXGY,
PRAYER FOR RELIEF
WHEREFORE, the States pray that the Court:

1. Adjudge and decree that Defendants have engaged in conduct in violation of Sections

2. Adjudge and decree that Defendants have engaged in conduct in violation of the state
statutes enumerated in Paragraphs 96 through 217;
3. Enjoin and restrain, pursuant to state and federal law, the Defendants, their affiliates,

assignees, subsidiaries, successors and transferees, and the officers, directors, partners, agents and

employees there
them, from continuing, maintaining or renewing the contracts, combinations or conspiracies alleged
herein, or from engaging in any other contract, combination or conspiracy having a similar purpose
or effect, and from. adopting or following any practice, plan, program or device having a similar

purpose ar effect:

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Mylan, Cambrex, Profarmaco and Gyma dated November 14, 1997;
3, Enter judgment for the Plaintiff States and award all other available equitable relief,
including, but not limited to, restitution and disgorgement, as the Court finds necessary to redress

Defendants’ violations of state and federal law;

and, where applicable expert fees;
7. Enter judgment for the Plaintiff States for three G) times the amount of damages
sustained by the States (as direct purchasers or assignees of direct purchasers) as allowed by federal

law, together with the costs of this action, including reasonable attorneys’ fees;

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3 Enter judgment for the Plaintiff States of Alaska, California, Colorado, Florida,

Hawaii, Idaho, Ulincis, Louisiana, Maine, Maryland, Minnesota, New Mexico, New York, North
Carolina, South Dakota, Tennesses, Vermont, West Virginia, and Wisconsin; for three (3) times the

amount of damages sustained by the Plaintiff States, (including damages for medical reimbursement

iaw, together with the costs of this action, including reasonable attorneys’ fees;

a Enter judgment for the Plaintiff States of Alaska, California, [inois, Louisiana,

Maine, Michigan, Minnesota, New Mexico, New York, South Dakota, Tennessee, Vermont, West

Virginia, Wisconsin, and the District of Columbia for three (3) times the amount of darnages

law, together with the costs of this action, including reasonable attomeys' fees;
10. Enter judgment for the Plaintiff States of Arkansas, Colorado, lowa, Michigan,
Nebraska, Oklahoma, Tennessee, Utah and Washington, the Commonwealth of Kentucky and for the

Disirict of Colurnbia, for the damages sustained by the States and the District of Columbia, (including

this sult is brought, as allowed by state law, together with the costs of this action, including

reasonable attorneys’ fees, as allowed by state law;

Hl. Enter judgment for the Plaintiff States of Arkansas, Florida, Iowa, Missouri,

Okishoma, Tennessee and Utah for the damages sustained by the persons they represent, or on whose

reasonable attorneys’ fees;

12. Enter judgment for the Plaintiff State of Ohio for two (2) times the arnount of damages
sustained by the State and the persons it represents as allowed by state law, together with costs and
reasonable attorneys’ fees, and all other equitable relief, inclading injunctive relief, restitation and

disgorgement;

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13. Enter judgment for the Plaintiff States of Maine, South Carolina and Wyoming under

state law, for damages as may be necessary to restore any person or entity who has suffered any
ascertainable logs by reason of the use or employment of Defendants’ unlawful methods, acts or

practices and any monies which may have been acquired by means of the unlawful practices of the

14. Enter judgment for the Plaintiff States of Alaska, Arkansas, California, Colorado,
Connecticut, Delaware, Florida, Hawaii, Idaho, [lnois, lowa, Louisiana, Maine, Maryland,
Michigan, Minnesota, Missouri, Nebraska, New Mexico, New York, North Carolina, Ohio, Oregon,

South Carolina, South Dakota, Tennessee, Texas, Utah, Vermont, Washington, West Virginia,

civil penalties allowable under the laws of each State;

15. Enter padgment for the State of Tennessee, its governmental entities and for consumers
damaged as a result of Defendants’ actions denying the Defendants and each of them the right to do
and be prohibited from doing business in the State of Tennessee;

16. Declare tha

of them be denied the right to do and be prohibited from doing business in the State of Tennessee;

17. Enter judgment pursuant to Wis. Stats. § 135.14 for the State of Wisconsin and its
consumers (1) declaring void any and all contracts or agreements founded upon, the result of, growing
aut of, ar connected with, the violations of the Wisconsin Trusts and Monopolies Act, Wis. Stat.

§ 133.03, either directly or indirectly; and, (2) for all payments made by the State of Wiscongin and

its consumers which relate, directly or indirectly, to such contracts or agreements:
18 Enter judgment for the State of Wyoming, agencies thereof and consumers damaged
by the Defendants’ acts of unfair discrimination in violation of Wyoming Statute §40-4-101, revoking

the permits of Defendants to do business of any kind or character within the State of Wyoming; and

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$9. Grant such other and further relief including all other available equitable relief, as the

case may require and the Court may deem just and proper to redress Defendants’ vialations of state

and federal law.

Betty D. Montgomery
Attomey General
State of Ohio

BY:

‘iichellL. Gaile =
Principal Attomey

Chief, Antiirust § Sesion

SARE

140 East Town Street, 12" Floor
Columbus, Ohic 43215
(614) 466-4328

Counsel for Ohis
and on behalf of the Plaintiff States
(listed below}

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